Case 5:08-cr-50051-KES      Document 626    Filed 11/22/11   Page 1 of 2 PageID #: 3757




                          UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                  )        CR. 08-50051-02-KES
                                            )
             Plaintiff,                     )
                                            )
    vs.                                     )    ORDER DENYING MOTION
                                            )   FOR SENTENCE REDUCTION
 ALVINA WHITE BULL,                         )    PURSUANT TO 18 U.S.C.
                                            )          § 3582(c)(2)
             Defendant.                     )

          Alvina White Bull moves, pro se, pursuant to 18 U.S.C. § 3582(c)(2) to

 reduce her sentence based on the retroactive application of the amendments

 to the Sentencing Guidelines because she claims her sentencing range has

 been reduced and a reduction would be consistent with applicable policy

 statements. Under section 3582(c)(2), “a district court may reduce a

 defendant’s sentence if it was ‘based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission . . . if such a

 reduction is consistent with applicable policy statements issued by the

 Sentencing Commission.’” United States v. Washington, 618 F.3d 869, 872

 (8th Cir. 2010) (quoting 18 U.S.C. § 3582(c)(2)).

          White Bull pleaded guilty to one count of conspiracy to distribute a

 controlled substance, and the substance was cocaine. The superseding

 indictment alleged involvement with both cocaine and marijuana, but White

 Bull only pleaded guilty to the cocaine offense. Docket 209; Docket 470.
Case 5:08-cr-50051-KES    Document 626   Filed 11/22/11   Page 2 of 2 PageID #: 3758




 White Bull was sentenced to the mandatory minimum of 120 months

 because of the amount of cocaine attributed to the conspiracy. Docket 530.

       The emergency amendments to the Sentencing Guidelines enacted on

 November 1, 2010, reduced the offense levels for defendants convicted of

 crimes dealing with cocaine base or crack cocaine. “However, the emergency

 amendments did not alter the applicable guidelines range for individuals

 convicted of cocaine—rather than cocaine base—offenses.” Mejia v. United

 States, No. 07 Cr. 186, 2011 WL 5456904, *1 (S.D.N.Y. Nov. 7, 2011).

 Because White Bull pleaded guilty to and was sentenced for a cocaine

 offense, not cocaine base, the retroactive application of the November 1,

 2010, amendments is not applicable to her sentence. A sentence reduction

 is not warranted. Accordingly, it is

       ORDERED that White Bull’s motion for a sentence reduction

 pursuant to 18 U.S.C. § 3582(c)(2) (Docket 625) is denied.

       Dated November 22, 2011.

                                 BY THE COURT:



                                 /s/ Karen E. Schreier
                                 KAREN E. SCHREIER
                                 CHIEF JUDGE




                                         2
